Case 3:16-cv-00940-MPS Document 140-9 Filed 05/03/19 Page 1 of 4




             EXHIBIT 2
       Case 3:16-cv-00940-MPS Document 140-9 Filed 05/03/19 Page 2 of 4




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


DENIS MARC AUDET, MICHAEL                           Case 3:16-cv-00940
PFEIFFER, and DEAN ALLEN SHINNERS,
Individually and on Behalf of All Others            Hon. Michael P. Shea
Similarly Situated,                                 Courtroom 2

                              Plaintiffs,           ECF Case

       vs.                                          CLASS ACTION

STUART A. FRASER, GAW MINERS, LLC,                  May 3, 2019
and ZENMINER, LLC, (d/b/a ZEN CLOUD),
                                                    JOINT DECLARATION RE: RANDOM
                              Defendants.           SAMPLING OF DOCUMENTS
                                                    COLLECTED BY PLAINTIFF DEAN
                                                    ALLEN SHINNERS


       Colin Watterson and Sarah Cave declare as follows:

       1.      Mr. Watterson is an attorney licensed to practice law in the State of Texas and an

attorney of record for plaintiffs in this case. Ms. Cave is an attorney licensed to practice law in

the State of New York and an attorney of record for Defendant Stuart A. Fraser in this case. Mr.

Watterson and Ms. Cave are admitted pro hac vice in this action.

       2.      Mr. Watterson and Ms. Cave are providing this joint declaration pursuant to the

Court’s April 12, 2019 order (Dkt. 135). The Court ordered the parties to submit:

       (1) a sample of documents from 20 members of the putative class; and (2) briefs
       regarding these documents with the Court by May 3, 2019. The parties shall confer to
       determine a method of selecting the 20 members at random. Each party shall select up to
       10 pages from each of the 20 members to file with the Court. These documents shall be
       accompanied by a joint declaration from counsel, not to exceed 4 pages, that explains the
       (1) method used to select the 20 individuals; and (2) the nature of the documents
       submitted.

       3.      The parties used the following methodology to select the 20 individuals. First,

Mr. Watterson prepared a list of names of the 173 individuals from whom Plaintiff Dean Allen



                                                1
        Case 3:16-cv-00940-MPS Document 140-9 Filed 05/03/19 Page 3 of 4




Shinners collected documents. The names were arranged in alphabetical order by their first

names. Each individual was assigned a number based on the order in which his or her name

appeared, i.e., the first name that appeared on the list was assigned the number “1,” the second

name was assigned the number “2,” and so on.

        4.      The parties then used the website Random.org to select a random set of

individuals from the list. The parties performed the random draw jointly through a Webex on

April 24, 2019.       The following individuals were selected: Alex Lukashevich, Alfonso

Hernandez, Arthur James, Belinda Jane Elizabeth Burrows, Christian L Bills, Christopher Alan

Crane, Daniel Olavi Mondesire, Jack Gentry Saunders, Jamie Alfonso Martin, Jonas Per Lars

Berqvist, Kellen Jalbert, Martin Horton Alexander, Michael Viklund, Paul Heath, Paul William

Lindgren, Robert Alan Hoppenfeld, Simon Peter Black, Slaven Sabolovic, Tezontl Rosario, and

Wim Berkhof.

        5.      After selection was complete, Mr. Watterson provided Ms. Cave with a chart

identifying the documents provided by these individuals by Bates number.

        6.      The documents provided by these individuals and produced by the Plaintiffs in

this action include, but are not limited to, the following: confirmation emails for the purchase of

GAW Miners products, credit card statements, bank statements, and other financial records

reflecting payments to GAW Miners and other entities, information about individuals’ Paycoin

or Bitcoin wallets (i.e., the digital wallets used to transfer Bitcoin and Paycoin to and from GAW

Miners), email receipts confirming purchase of Bitcoin on outside exchanges, emails reflecting

transfers of Bitcoin from outside exchanges to GAW Miners, and spreadsheets containing

information from ZenCloud. A few individuals also created and uploaded ledgers reflecting

calculations of their losses.




                                                2
        Case 3:16-cv-00940-MPS Document 140-9 Filed 05/03/19 Page 4 of 4



        We declare under penalty of perjury under the laws of the United States that the foregoing is true

and correct to the best of our knowledge, information, and belief.


Dated: May 3, 2019

Colin Watterson____________________                      Sarah Cave____________________
Colin Watterson                                          Sarah Cave
At Houston, Texas                                        At New York, New York




                                                     3
